Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 1 of 10 PageID# 1107



                      UNTED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                           Newport News Division
 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                Plaintiffs,
 v.                                                           Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION, et al.,

                Defendants.

                 PLAINTIFFS’ OPPOSITION TO MOTION FOR
             PROTECTIVE ORDER REGARDING CONFIDENTIALITY
      DESIGNATIONS OF DEFENDANT, FREEDOM MORTGAGE CORPORATION

        The Plaintiffs, by Counsel, oppose Defendant Freedom Mortgage’s Motion for Protective

 Order Regarding Confidentiality Designations (ECF 24). Because Freedom has not met its burden

 of showing that confidentiality of some of its documents should be preserved, the Court should

 deny the Motion.

                                        I.      OVERVIEW.

        Confidentiality should not be taken lightly, as court proceedings are, by default, open to

 the public. Freedom would stymie this settled notion by having the Court grant confidentiality to

 documents that are nothing of the kind. Where specific explanations of the reasons to keep

 information from public view and the resulting harm should the public learn the information,

 Freedom offers only generalized statements of its own subjective belief that certain information

 be kept confidential. And it offers no explanation at all of the harm that would result should such

 information become public. As the discussion below confirms, no such harm is presumed.

 Freedom has the burden to show such harm, and Freedom has not even attempted to do so.

        The idea that confidentiality of information is the exception rather than the rule makes

 further sense in light of the additional burdens on Plaintiffs and the Court should confidentiality
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 2 of 10 PageID# 1108



 be handed-out without an appropriate basis. Freedom has designated as confidential its FCRA

 procedures documents, which will be evidence on one of the key points on summary judgment.

 Should those baseless designations stand, every summary judgment brief, response, and reply will

 have a corresponding motion to seal and accompanying documents. The Court should conclude

 that such docket clutter is not warranted, particularly since Freedom has not shown anything close

 to what it must to justify confidentiality.

                                     II.       CASE BACKGROUND.

         This is the second case the Parkers have had to file against Freedom because it continues

 to misreport the status of their mortgage account. Mr. Parker is a 100% disabled veteran, long ago

 submitted his request to the local tax authority for waiver of his property taxes, received the formal

 exemption, and provided it to Freedom Mortgage as soon as it assumed servicing of his loan at the

 end of 2015. (ECF 1 ¶ 14.) Since nearly every action at Freedom is automated, no human being

 interpreted the exemption and Freedom did not properly apply it to the Parkers’ escrow account.

 Plaintiffs sued, and Freedom eventually settled in June 2017, with the understanding being that

 Plaintiffs’ account would be corrected. It was not.

         In February 2018, Freedom sent Plaintiffs letters stating they were behind on their

 mortgage payments, which was untrue. (Id. ¶ 16.) Freedom also reported the supposed

 delinquencies to Equifax and Experian once again, despite Plaintiffs having made all payments on

 time and for the correct amount due. (Id. ¶¶ 17–18.) Freedom also notified Plaintiffs repeatedly

 that their mortgage was in default, which was again untrue. (Id. ¶¶ 18–19.) Plaintiffs disputed the

 inaccurate reporting through Equifax and Experian, as well as to Freedom directly. (Id. ¶¶ 20, 25.)

 Nothing helped, so Plaintiffs sued again. They have settled with Equifax and Experian, leaving

 only Freedom as a Defendant.




                                                   2
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 3 of 10 PageID# 1109



           While discovery has presented the usual problems with stonewalling defendants, Freedom

 has here taken the additional step of asking the Court for protection of its confidentiality

 designations and sealing of that same motion. (ECFs 23, 24.) Freedom has not provided the

 appropriate basis for either Motion, so the Court should deny them both. 1

                                III.   ARGUMENT AND AUTHORITIES.

 A.        Standards For Protective Orders.

           Federal Rule of Civil Procedure 26 permits an order preventing, among other things, the

 disclosure of “trade secret or other confidential research, development, or commercial

 information.” FED. R. CIV. P. 25(c)(1)(G). To obtain a protective order under Rule 26(c), the

 moving party must establish that the information sought is covered by the rule and that it will be

 harmed by disclosure. In re Wilson, 149 F.3d 249, 252 (4th Cir. 1998). “The party seeking a

 protective order has the burden of establishing ‘good cause’ by demonstrating that ‘specific

 prejudice or harm will result if no protective order is granted.’” United States ex rel. Davis v.

 Prince, 753 F. Supp. 2d 561, 565 (E.D. Va. 2010); see also Lathon v. Wal-Mart Stores E., LP,

 CIV.A. 3:09CV57, 2009 WL 1810006 (E.D. Va. June 24, 2009) (“For good cause to exist, the

 party seeking protection bears the burden of showing specific prejudice or harm that will result if

 no protective order is granted.”).

 B.        Freedom Has Come Nowhere Close To Establishing Confidentiality.

           1.     Freedom has failed to show good cause for keeping its letter to Plaintiffs’
                  Counsel confidential.

           Freedom’s Motion fails at the threshold because it does nothing to establish good cause.

 Freedom merely states that it treats the documents as confidential and one document mentions the




 1   Plaintiffs address Freedom’s Motion to Seal in a separate opposition brief.


                                                    3
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 4 of 10 PageID# 1110



 terms of the earlier settlement between the Parkers and Freedom, so that is enough. (See ECF 25

 at 5–6 .) It is not.

         Good cause in this instance requires Freedom to do more than simply state its subjective

 preference that information be kept confidential. As to the letter to Plaintiffs’ Counsel, Freedom

 first fails to mention that it redacted the settlement amount from the letter, so the key term about

 which any settling defendant would be sensitive would not be revealed with a public filing. There

 would therefore be no prejudice to Freedom should that document be filed on PACER. And, of

 course, Freedom identifies no such prejudice or injury that would result.

         Even beyond that logical conclusion, Freedom does not explain any harm that would befall

 it should anyone learn the amount it paid the Parkers in their earlier settlement. (See ECF 25 at 6.)

 Without such specific showing, the Court should find the post-settlement letter not deserving of

 confidentiality. United States ex rel. Davis, 753 F. Supp. 2d at 565.



         2.       Freedom has not shown any of the remaining documents deserve
                  confidentiality.

         As to the remaining 10 documents, Freedom offers just bland, non-specific statements

 regarding why they should be kept confidential:

         [E]ach of the documents expressly states on the document itself that it contains
         proprietary information. Moreover, Freedom Mortgage treats these documents as
         confidential, as they contain trade secrets concerning Freedom Mortgage’s business
         practices. Accordingly, Freedom Mortgage intends to and does treat these
         documents as confidential. Having established the confidential nature of these
         documents, Freedom Mortgage properly designated them as confidential in its
         document production.

 (ECF 25 at 6–7 (citation omitted).) Its Counsel does no better, explaining in his Declaration in

 support of the Motion only that “Freedom Mortgage treats Exhibits 2 through 12 as confidential,




                                                   4
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 5 of 10 PageID# 1111



 containing proprietary information, and for internal use only. 2 The redactions in these produced

 versions of the documents were for attorney-client privilege.”3 (ECF 25-1 ¶ 20.) None of this is

 sufficient to grant the documents protection, as Freedom must provide more than just generalized

 statements to gain confidentiality.

        Courts, including this one, have concluded again and again that Rule 26(c)’s good cause

 requirement “contemplates a particular and specific demonstration of fact as distinguished from

 stereotyped and conclusory statements.” Great Am. Ins. Co. v. Gross, No. 3:05-cv-159, 2007 WL

 1577503, at *12 (E.D. Va. May 30, 2007) (citations omitted); see also Glenmede Trust Co. v.

 Thompson, 56 F.3d 476 (3d Cir. 1995) (finding generalized allegations of injury to reputation and

 relationships with clients insufficient as the moving party was not able to articulate any specific

 cognizable injury that would flow from dissemination of the materials.); Gen. Dynamics Corp. v.

 Selb Mfg. Co., 481 F.2d 1204 (8th Cir. 1973) (Under provisions of this rule requiring that “good

 cause” be shown for a protective order to be issued, the burden is upon movant to show necessity

 of its issuance, which contemplates a particular and specific demonstration of fact, as distinguished

 from stereotyped and conclusory statements; such determination must also include a consideration

 of relative hardship to nonmoving party should the protective order be granted); Patt v. Family

 Health Sys., Inc., 189 F.R.D. 518 (E.D. Wis. 1999), aff’d, 280 F.3d 749 (7th Cir. 2002) (holding

 general injuries from discovery are insufficient to warrant issuance of protective order).

        Here, Freedom offers only scant, generalized statements that confidentiality is warranted,



 2 Such an attorney declaration is also deficient as it is not of course based on any personal
 knowledge and counsel is not an available witness. Soutter v. Equifax Info. Servs. LLC, 299 F.R.D.
 126 (E.D. Va. 2014) (Payne) (striking declaration in a non-summer judgment motion holding that
 the same standard for admissibility must apply).

 3Freedom has not served a privilege log in this case, so the Court should easily find that any claims
 of privilege have been waived.


                                                  5
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 6 of 10 PageID# 1112



 without any specific reasons why or the harm that would result if the public were to view these

 documents. That is because it cannot make that showing, despite that it has all of the information

 relating to that showing and it has the burden to do so.

         In nearly all competently contested instances, courts have rejected Rule 26(c) protection

 for FDCPA and FCRA compliance procedures like those Freedom wants protected here. See, e.g.,

 Zahran v. Trans Union Corp., 01 C 1700, 2002 WL 31010822 (N.D. Ill. Sept. 9, 2002); Ahern v.

 Zale Corp., 301CV02313(DJS), 2002 WL 32114492 (D. Conn. Oct. 23, 2002). There is no

 credible harm that Freedom can articulate, let alone prove. Information is not worthy of protection

 under Rule 26(c) merely because it is information that the producing party does not want its

 competitors to learn or that, if disclosed, would implicate the disclosing party in a fraud. See Union

 Oil Co. of Cal. v. Leavell, 220 F.3d 562, 567 (7th Cir. 2000) (“Many a litigant would prefer that

 the subject of the case . . . be kept from the curious (including its business rivals and customers),

 but the tradition that litigation is open to the public is of very long standing.”).

        It therefore stands to reason, as courts have held, that a creditor’s “office policies and

 procedures” are not protected as attorney-client communications, work product, or confidential

 business information. Fed. Trade Comm’n v. Shaffner, 626 F.2d 32, 37 (7th Cir. 1980); see

 Zahran, 2002 WL 31010822, at *3. In the most-often cited case on the present issues in the

 context of such a consumer FCRA case, Judge Kay rejected Defendants’ present argument:

         The statements in Paragraphs 234 trough 251 do nothing more than state certain of
         Trans Union’s general procedures for resolving errors in credit reports and Trans
         Union’s alleged failure to follow its protocol in the Zahrans’ case. (See
         generally, Pl’s State. of Facts 234-251.) The Court does not see how the Zahrans’
         assertions in these disputed paragraphs divulge any Trans Union trade secrets,
         and to the extent that Paragraphs 234 through 251 refer to certain documents,
         the Court finds that these documents are undeserving of a protective order, as
         further explained below.

         In all actuality, the portions of the Dispute Training Manual included in the



                                                    6
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 7 of 10 PageID# 1113



        Zahrans’ exhibits, which outline procedures for consumer relations personnel to
        handle consumer credit disputes, are not rocket science. In the case at bar, the Court
        is not faced with the disclosure of the actual computer software used to design
        Trans Union’s consumer credit database or the decision-making process that
        determines how or why certain information is placed on an individual’s credit
        report in the first place. Here, the Court is only confronted with the data entry of
        consumer information, complaints, definitions and instructions on how to access
        consumer dispute history or similar screens. The Court concludes that the function
        commands, keystrokes, data entry instructions, and general computer codes in the
        Dispute Training Guide are not a “formula, pattern, device or compilation of
        information” that gives Trans Union an advantage over competitors. The Court
        does not see how a competitor will be advantaged if information relating to which
        keystrokes access which screens in the database is disclosed or if information
        about which departments handle various consumer inquiries becomes public
        knowledge.

 Zahran v. Trans Union Corp., 01 C 1700, 2002 WL 31010822, at *3; see also Ahern, 2002 WL

 32114492, at *4 (stating the fact that FCRA defendant “considers documents proprietary and

 confidential falls short of establishing grounds for a protective order or any recognized immunity

 from discovery. More than a mere assertion is required to perfect an exemption or immunity from

 discovery”). As under these authorities, Freedom has failed to show any cause, let alone good

 cause, for protection or harm that would result absent a protective order.

        3.      The balance of interests favors disclosure.

        Even if somehow the Freedom would be theoretically exposed to competitive harm, a Rule

 26(c) protective order is appropriate only if the moving party’s harm is greater than other interests

 at stake. For Plaintiffs, and for other consumers represented by Plaintiffs’ Counsel, catering to

 Freedom’s desire to keep its secrets in-house has a cost and burden. The protective order being

 sought is meant to totally disrupt the manner in which Counsel and the Court ordinarily litigate a

 case. Pintos v. Pacific Creditor’s Ass’n, 504 F.3d 792, 801–03 (9th Cir. 2007). Since dispositive

 motions are now in play, Plaintiffs must dedicate resources and effort to needless motions to seal,




                                                  7
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 8 of 10 PageID# 1114



 burdening not only them but the Clerk and the Court as well, who must then wrangle multiple

 copies of the same pleading and carefully parse what may go into written decisions and orders.

 And not to mention the delay in proceedings that such motions cause, as in addition to cluttering

 the docket each filing will now have a built-in lag of time while the motions to seal await rulings.

        Beyond the use of the documents by Plaintiffs and their Counsel, there is also a strong

 public interest in public disclosure of these documents. The well-established presumption is that

 the public has an overwhelming interest in knowing what is happening in a judicial proceeding.

 Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945–46 (7th Cir. 1999);

 Union Oil, 220 F.3d at 568. Granting Freedom’s request is unworkable, is inconsistent with the

 public’s interest in access to judicial proceedings, and generally the antithesis to the general

 presumption that court proceedings be open and transparent. See Am. Tel. & Tel. Co. v. Grady,

 594 F.2d 594, 596 (7th Cir. 1978) (“As a general proposition, pretrial discovery must take place

 in the public unless compelling reasons exist for denying the public access to the proceedings.”).

        The presumption of public access extends to pretrial discovery absent “compelling reasons

 [] for denying the public access to the proceedings.” Id.; Citizens First, 178 F.3d at 945–46. This

 is especially true in this instance, as the documents Freedom wants to keep secret pertain to its

 FCRA compliance procedures, which pertain to the mortgage accounts of every consumer whose

 account Freedom services. State judges, government regulators, and other effected consumers are

 stakeholders in this dispute and the harm from disclosure that goes unaddressed in Freedom’s

 memorandum cannot outweigh these more important interests.

                                       IV.     CONCLUSION.

        For the reasons stated above, Plaintiffs respectfully request that the Court deny Freedom’s

 Motion and order its designations of confidentiality on the subject documents removed.




                                                  8
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 9 of 10 PageID# 1115



 September 16, 2019.




                                                         Respectfully submitted,

                                                         PLAINTIFFS James Parker II and
                                                         Debra Parker

                                                         By        /s/
                                                         Leonard A. Bennett, VSB #37523
                                                         Craig C. Marchiando, VSB #89736
                                                         Elizabeth W. Hanes, VSB #75574
                                                         CONSUMER LITIGATION ASSOCIATES, P.C.
                                                         763 J. Clyde Morris Blvd., Ste. 1-A
                                                         Newport News, VA 23601
                                                         Telephone: (757) 930-3660
                                                         Facsimile: (757) 930-3662
                                                         Email: lenbennett@clalegal.com
                                                         Email: craig@clalegal.com
                                                         Email: elizabeth@clalegal.com

                                                         Counsel for the Plaintiffs




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of September, 2019, I will cause a true and correct

 copy of the foregoing to be filed electronically using the CM/ECF system, which will then send a

 notification of such filing to all Counsel of Record.


                                                                          /s/
                                                         Leonard A. Bennett, VSB #37523
                                                         CONSUMER LITIGATION ASSOCIATES, P.C.
                                                         763 J. Clyde Morris Blvd., Ste. 1-A
                                                         Newport News, VA 23601
                                                         Telephone: (757) 930-3660
                                                         Facsimile: (757) 930-3662
                                                         Email: lenbennett@clalegal.com



                                                  9
Case 4:18-cv-00140-HCM-LRL Document 50 Filed 09/16/19 Page 10 of 10 PageID# 1116




                                       10
